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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION



ROY LEEDALE COLLINS                                                         PLAINTIFF

v.                            CASE NO. 5:21-CV-5037

SHERIFF TIM HELDER, SERGEANT BRIAN ATCHLEY,
SERGEANT JOHN PATRICK BYRD,
LIEUTENANT AMANDA ARNOLD,
CORPORAL BOMAN, AND DEPUTY GLASS                                         DEFENDANTS


                                     JUDGMENT

      Pursuant to the order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that this matter is DISMISSED WITHOUT PREJUDICE.

      IT IS SO ADJUDGED this November 2, 2021.


                                               /s/P. K. Holmes III
                                               P.K. HOLMES III
                                               U.S. DISTRICT JUDGE
